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                                AFFIDAVIT
I, Deaglan P. Ryan, being duly sworn, declare and state as

follows:

                         I. PURPOSE OF AFFIDAVIT
           This affidavit is made in support of a criminal

complaint against TRAVIS SMITH (“SMITH”) for violations of 18

U.S.C. § 1201: Kidnapping; 18 U.S.C. § 2422: Enticement of a

Minor to Engage in Criminal Sexual Activity; and, 18 U.S.C.

§ 2423: Transportation with Intent to Engage in Criminal Sexual

Activity With a Minor and Travel with Intent to Engage in

Illicit Sexual Conduct With a Minor (“the SUBJECT OFFENSES”).

           This affidavit is also made in support of an

application for a warrant to search:

           a.    SMITH’S cellular telephone (the “SUBJECT

DEVICE”), seized by law enforcement, pursuant to the arrest of

SMITH, on Saturday, July 11, 2020.        The SUBJECT DEVICE is an LG

Stylo 5 cellular telephone, encased in a black and red

protective cover, bearing model number is LM-Q720PS and serial
number 911CQFT1046043, as described further in Attachment A-1;

and

           b.    SMITH’s person, as described further in

Attachment A-2, for his DNA, as described further in Attachment

B-2.

           The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

the SUBJECT OFFENSES, as described more fully in Attachment B-1

and Attachment B-2, which are incorporated herein by reference.
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 3 of 38 Page ID #:3



             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

search warrant, and does not purport to set forth all of my

knowledge of or investigation into this matter.            Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                         II. BACKGROUND OF AFFIANT
             I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since September

2009.    I am currently assigned to Squad C2, the Violent Crimes

Against Children (“VCAC”) squad in the Los Angeles Field Office,

as well as to a multi-agency child exploitation task force known

as the Southern California Regional Sexual Assault Felony

Enforcement (“SAFE”) Team.      In this capacity, I have been tasked
with investigating crimes involving the sexual exploitation of

children under Title 18, United States Code, Section 2251, et

seq.    I was previously assigned to the New York Field Office as

a Special Agent in the FBI’s Health Care Fraud Task Force.               I

have received 22 weeks of formal education at the FBI Academy,

which included instruction in writing affidavits and providing

evidentiary testimony.      In support of my current assignment, I

have gained familiarity in child exploitation investigations

through formal on-the-job training with more experienced agents



                                      2
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20    Page 4 of 38 Page ID #:4



and received training and experience in interviewing and

interrogation techniques, arrest procedures, search warrant

applications, surveillance, and a variety of other investigative

tools available to law enforcement officers.             As an FBI SA, I

have conducted surveillance; participated in the execution of

search warrants; debriefed informants, confidential sources, and

cooperating witnesses; reviewed recorded conversations; and

participated in the interception of wire and electronic

communications.
           In addition, I have received on-the-job training in

the sexual exploitation of children, observed and reviewed

images of child pornography in many forms of media, including

computer and digital media, and participated in interviews and

debriefings of persons involved in the sexual exploitation of

children.   I have conducted and participated in investigations

related to the sexual exploitation of children, which have

resulted in the arrest and prosecution of individuals.

           As part of my training as a member of the VCAC Squad

and SAFE Team, I have consulted with colleagues who have many

years of experience investigating child prostitution, child

pornography, and child exploitation cases.             I have also been

involved in the execution of numerous search warrants related to

various crimes, including child pornography and child

prostitution offenses.

           Through my training and experience, I have become

familiar with the methods of operation used by people who commit

offenses involving the sexual exploitation of children and how



                                      3
Case 2:20-cr-00320-JAK    Document 1    Filed 07/13/20   Page 5 of 38 Page ID #:5



people use the Internet to commit crimes arising from, and

related to, the sexual exploitation of children.

                       III. SUMMARY OF PROBABLE CAUSE
               Several months ago, while living in Los Angeles

County, 26 year-old SMITH began online chatting with a girl

(“Minor Victim”) who he knew was 15 years-old.

               SMITH demanded Minor Victim to send him explicit

images and videos of herself.          Minor Victim complied because

SMITH threatened to harm both her and her family if she did not.

Minor Victim attempted to cut off communication with SMITH on

numerous occasions, but SMITH continued threatening her and her

family.

               Eventually, SMITH drove with two unknown males from

Los Angeles to Oregon to obtain Minor Victim.              Minor Victim did

not want to leave her family, but SMITH threatened to “shoot up”

Minor Victim’s family’s home if she did not comply; Minor Victim

said she would not have left if SMITH had not threatened her.

On July 7, 2020, SMITH began driving Minor Victim from Oregon to
Los Angeles.

               After arriving in Los Angeles, SMITH had sex with her

multiple times, including digital and penial vaginal

penetration, oral copulation, and possibly anal penetration.

SMITH also hit her, pinned her to a bed, grabbed her by the

throat, and burned her with a lighter.            SMITH threatened to

kill, shoot, and stab her if she did not comply, and refused to

allow her to leave his apartment or call her family.               On July




                                        4
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20    Page 6 of 38 Page ID #:6



11, 2020, law enforcement officers recovered victim and arrested

SMITH.

   IV. TRAINING AND EXPERIENCE ON CHILD EXPLOITATION OFFENSES,
       COMPUTERS, THE WORLDWIDE INTERNET COMPUTER COMMUNICATION
                   NETWORK, AND DEFINITION OF TERMS
          In this affidavit, the terms “minor,” “sexually

explicit conduct,” “visual depiction,” “producing,” and “child

pornography” are defined as set forth in 18 U.S.C. § 2256.                The

term “computer” is defined as set forth in 18 U.S.C.

§ 1030(e)(1).

          Based upon my training and experience in the

investigation of child pornography, and information related to

me by other law enforcement officers involved in the

investigation of child pornography, I know the following

information about the use of computers with child pornography:

          Computers and Child Pornography.            Computers and

computer technology have revolutionized the way in which child

pornography is produced, distributed, and utilized.              Child

pornographers can now produce both still and moving images

directly from a common video camera and can convert these images

into computer-readable formats.        The use of digital technology

has enabled child pornographers to electronically receive,

distribute, and possess large numbers of child exploitation

images and videos with other Internet users worldwide.

          File Storage.     Computer users can choose their method

of storing files: either on a computer’s hard drive, an external

hard drive, a memory card, a USB thumb drive, a smart phone or

other digital media device, etc. (i.e., “locally”) or on virtual



                                      5
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20     Page 7 of 38 Page ID #:7



servers accessible from any digital device with an Internet

connection (i.e., “cloud storage”).         Computer users frequently

transfer files from one location to another, such as from a

phone to a computer or from cloud storage to an external hard

drive.     Computer users also often create “backup,” or duplicate,

copies of their files.      In this way, digital child pornography

is extremely mobile and such digital files are easily reproduced

and transported.     For example, with the click of a button,

images and videos containing child pornography can be put onto

external hard drives small enough to fit onto a keychain.                Just

as easily, these files can be copied onto compact disks and/or

stored on mobile digital devices, such as smart phones and

tablets.     Furthermore, even if the actual child pornography

files are stored on a “cloud,” files stored in this manner can

only be accessed via a digital device.          Therefore, viewing this

child pornography would require a computer, smartphone, tablet,

or some other digital device that allows the user to access and

view files on the Internet.
            Internet.   The term “Internet” is defined as the

worldwide network of computers -- a noncommercial, self-

governing network devoted mostly to communication and research

with roughly 500 million users worldwide.              The Internet is not

an online service and has no real central hub.              It is a

collection of tens of thousands of computer networks, online

services, and single user components.         In order to access the

Internet, an individual computer user must use an access

provider, such as a university, employer, or commercial Internet



                                      6
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 8 of 38 Page ID #:8



Service Provider (“ISP”), which operates a host computer with

direct access to the Internet.
          Internet Service Providers.        Individuals and

businesses obtain access to the Internet through ISPs.              ISPs

provide their customers with access to the Internet using

telephone or other telecommunications lines; provide Internet e-

mail accounts that allow users to communicate with other

Internet users by sending and receiving electronic messages

through the ISPs’ servers; remotely store electronic files on

their customer’s behalf; and may provide other services unique

to each particular ISP.      ISPs maintain records pertaining to the

individuals or businesses that have subscriber accounts with

them.   Those records often include identifying and billing

information, account access information in the form of log

files, e-mail transaction information, posting information,

account application information, and other information both in

computer data and written record format.

          IP Addresses.     An Internet Protocol address (“IP

Address”) is a unique numeric address used to connect to the

Internet.   An IPv4 IP Address is a series of four numbers, each

in the range 0-255, separated by periods (e.g., 121.56.97.178).

In simple terms, one computer in a home may connect directly to

the Internet with an IP Address assigned by an ISP.             What is now

more typical is that one home may connect to the Internet using

multiple digital devices simultaneously, including laptops,

tablets, smart phones, smart televisions, and gaming systems, by

way of example.     Because the home subscriber typically only has



                                      7
Case 2:20-cr-00320-JAK    Document 1   Filed 07/13/20    Page 9 of 38 Page ID #:9



one Internet connection and is only assigned one IP Address at a

time by their ISP, multiple devices in a home are connected to

the Internet via a router or hub.          Internet activity from every

device attached to the router or hub is utilizing the same

external IP Address assigned by the ISP.           The router or hub

“routes” Internet traffic so that it reaches the proper device.

Most ISPs control a range of IP Addresses.              The IP Address for a

user may be relatively static, meaning it is assigned to the

same subscriber for long periods of time, or dynamic, meaning

that the IP Address is only assigned for the duration of that

online session.      Most ISPs maintain records of which subscriber

was assigned which IP Address during an online session.

                V. TRAINING AND EXPERIENCE ON SOCIAL MEDIA
              Based on my training and experience, knowledge of the

investigation, information provided by other law enforcement

officers, and review of publicly available information, I know

that:

        A.     Snapchat
               Snap, Inc. is a company located in Santa Monica,

California that handles hundreds of millions of messages (also

known as “snaps”) every day through the application Snapchat.

When messages or “snaps” are sent over the Snapchat network they

are able to be opened and viewed by the recipient Snapchat user.

Once the snap is opened, it remains viewable for a period of one

to ten seconds (exact time is decided by the sender) before the

snap is permanently deleted from the recipient’s account.                In




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Case 2:20-cr-00320-JAK    Document 1   Filed 07/13/20   Page 10 of 38 Page ID #:10



this way, Snapchat users can send one-time, expiring messages to

each other that contain photos and text.
             I know from my investigations that individuals with a

sexual interest in children often use applications such as

Snapchat for a number of reasons.          One, Snapchat is often used

by children.     Two, it helps conceal illicit sexual conduct

because of the nature of the disappearing messages.               Three,

there are minimal, if any, verification requirements which

allows false online identities to be more easily created and

maintained.

      B.     Instagram
             Instagram owns and operates a free-access social-

networking website.        Instagram allows its users to create their

own profile pages, which can include a short biography, or

“bio,” a photo of themselves, and other information.               Users can

access Instagram through the Instagram website or by using a

special electronic application (“app”) created by the company

that allows users to access the service through a mobile device.

             Instagram permits users to post photos and videos to

their profiles on Instagram and otherwise share photos and

videos with others on Instagram, as well as certain other

social-media services, including Flickr, Facebook, and Twitter.

When posting or sharing a photo or video on Instagram, a user

can add the following to the photo/video: a caption; various

“tags” that can be used to search for the photo/video (e.g., a

user may add the tag “#vw” so that people interested in

Volkswagen vehicles can search for and find the photo/video);



                                       9
Case 2:20-cr-00320-JAK   Document 1    Filed 07/13/20     Page 11 of 38 Page ID #:11



location information, including geotags or a specific location

name; and other information.          A user can also apply a variety of

“filters” or other visual effects that modify the look of the

posted photos and videos.       In addition, Instagram allows users

to make comments on posted photos and videos, including photos

and videos that the user posts or photos and videos posted by

other users of Instagram.       Users can also “like” photos and

videos, meaning that they can express approval of a photo or

video by using Instagram’s “like” feature.
           Instagram allows users to have “friends,” which are

other individuals with whom the user can share information

without making the information public.            Friends on Instagram may

come from either contact lists maintained by the user, other

third-party social media websites and information, or searches

conducted by the user on Instagram profiles.                Instagram collects

and maintains this information.

           Instagram also allows users to “follow” another user,

which means that they receive updates about posts made by the

other user.     Users may also “unfollow” users, that is, stop

following them or block them, which prevents the blocked user

from following that user.

           Instagram allows users to post and share various types

of user content in their galleries, including photos, videos,

captions, comments, and other materials.                Such items can contain

metadata, i.e., content about the data such as the date and time

the photo or video was taken.         Instagram collects and maintains




                                       10
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 12 of 38 Page ID #:12



user content that users post to Instagram or share through

Instagram.
             Instagram users may send photos and videos to select

individuals or groups via Instagram Direct.            Information sent

via Instagram Direct does not appear in a user’s feed, search

history, or profile.

      C.     FaceTime
             FaceTime is an Apple application that allows users to

video or audio chat.       FaceTime can, but does not require,

cellular data to function; it can operate on wifi alone.               The

content of FaceTime communications is not typically preserved,

although there are methods for users to record the

conversations.     Apple does, however, often preserve data

associated with the chats, such as time, duration, and

participants.

                     VI.STATEMENT OF PROBABLE CAUSE
             Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

      A.     Minor Victim’s mother reports her missing and
              identifies SMITH
             On or about July 10, 2020, Minor Victim’s mother

reported Minor Victim missing to the National Center for Missing

and Exploited Children (“NCMEC”) after she found a note in Minor

Victim’s room saying Minor Victim was going out and would return

soon, but Minor Victim never returned; Minor Victim did not have

a history of running away.       In the report, Minor Victim’s mother




                                      11
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 13 of 38 Page ID #:13



said Minor Victim had a wifi-capable cellphone, but no number

assigned to it.      NCMEC assigned the tip to the Roseburg (Oregon)

Police Department (“RPD”), who requested assistance from the

FBI.
            That same day, on or about the July 10, 2020, FBI

Portland and RPD met with Minor Victim’s mother and learned the

following:

             a.   Minor Victim met a man online, who initially

claimed he was 16 years-old, and sent him nude photos of

herself.

             b.   When Minor Victim attempted to cut off

communication, the man threatened to distribute her nude photos.

             c.   Minor Victim’s mother provided investigators with

screenshots from SMITH’s Facebook account.             She also provided

Minor Victim’s Instagram and Snapchat user handles.

            Through open source investigation based in part on the

information Minor Victim’s mother provided about the various

social media account, FBI Portland discovered a likely Instagram

account for SMITH.

            The RPD detective who interviewed Minor Victim’s

mother told me the screenshots Minor Victim’s mother provided to

him from SMITH’s social media appear consistent with SMITH’s DMV

photo.

            That same day, investigators interviewed a minor

female friend (“Minor Friend”) of Minor Victim’s.              Minor Friend

said Minor Victim told her about Minor Victim’s online

communications with SMITH.       Minor Victim told her SMITH was



                                      12
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20    Page 14 of 38 Page ID #:14



“super controlling and possessive,” even to the point of logging

into Minor Victim’s social media accounts to monitor and control

Minor Victim’s messages; SMITH would become upset if Minor

Victim communicated with any other males.              Minor Friend said

SMITH eventually told Minor Victim he was coming to Oregon to

“prove it” to Minor Victim that he was serious.

      B.     SMITH traveled from Los Angeles to Oregon and Back
              between July 6 and 7, 2020
             To find Minor Victim and SMITH and pursuant to 18

U.S.C. § 2702, FBI Portland and RPD served requests for

emergency disclosures on various social media companies likely

used by SMITH and Minor Victim; emergency disclosures allow the

FBI during exigent situations to quickly obtain limited

subscriber information from companies for accounts associated

with the exigency.       In response, Instagram returned an IP

address, owned by Sprint, on an account likely belonging to

SMITH.      FBI Portland then submitted an exigent request to Sprint

for that IP address, and Sprint returned an associated cellphone

number.

             Now having SMITH’s cellphone number, FBI’s Cellular

Analysis Survey Team (“CAST”) requested historical cell site

data and prospective location data (“pings”) to locate the

SUBJECT DEVICE.      The historical cell site data for SMITH’S Phone

showed that it left the Los Angeles area on July 6, 2020, around

10:30 p.m. and traveled north.        The SUBJECT DEVICE arrived in

the vicinity of Minor Victim’s home in Oregon on July 7, 2020,

around 11:12 a.m. and left the area around 11:51 a.m.                The




                                      13
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20     Page 15 of 38 Page ID #:15



SUBJECT DEVICE then began to travel south towards California.

Eventually it pinged in an area proximate to the City West and

West Lake areas of Los Angeles, within the Los Angeles Police

Department (“LAPD”) Rampart Community Police Station’s area of

responsibility.

      C.     SMITH is located and avoids answering questions about
              Minor Victim
             In the early morning hours of Saturday, July 11th, FBI

Portland alerted FBI Los Angeles about Minor Victim being

missing, and FBI Los Angeles engaged local LAPD Task Force

Officers (“TFOs”) to assist in locating Minor Victim.                 Shortly

after 6:00 a.m., agents and TFOs initiated surveillance in the

vicinity of the most recent “pings.”          Simultaneously, agents

conducted an open source query of publically-available databases

to try to find SMITH’s exact address.           The result showed a

possible address for SMITH at an apartment complex located

within the area bounded by the geographic cone enclosed by the

“ping” at 130 South Lafayette Park Place, Los Angeles,

California 90059.

             Agents and TFOs began to canvass the residence of the

apartments in the complex, displaying a DMV photograph of SMITH.

One resident identified SMITH and provided the apartment number

where the resident believed SMITH lived.               Agents knocked on the

door of the apartment (“The Subject Premises”).               A child

initially answered but, following a delay, an Adult Female

(“Adult Female”) came to the door.




                                      14
Case 2:20-cr-00320-JAK     Document 1   Filed 07/13/20   Page 16 of 38 Page ID #:16



           Using the DMV photo, Adult Female identified SMITH as

her husband, but said he was not home.             She also identified a

photo of Minor Victim, and said Minor Victim was staying in the

Subject Premises, but was not now there.

           Adult Female consented to investigators entering

Subject Premises to look for SMITH and Minor Victim.                Neither

Minor Victim nor SMITH were there.            Later, Adult Female

acknowledged that Minor Victim was present in the Subject

Premises when FBI agents initially knocked, but had left through

another apartment door when the FBI announced their presence.

           SMITH returned to the apartment shortly thereafter and

voluntarily agreed to be interviewed.

           SMITH initially said he met the female that was

staying in the apartment in the McArthur Park area, which is

near SMITH’s apartment, where she was from.

           SMITH consented to agents searching his cellphone (the

SUBJECT DEVICE).         In a review of the photo gallery on SMITH’S

phone, agents found photographs of the Minor Victim.                SMITH

acknowledged that this was the girl that was staying in the

Subject Premise, and that he had travelled to Oregon to pick her

up; he also said they were in a relationship.

           SMITH said he believed Minor Victim was 19 years-old

and, when told that Minor Victim was actually 15 years-old, said

he would “probably go to jail now.”

           SMITH said he chatted with Minor Victim primarily over

Instagram and Snapchat.         Agents asked to see those apps on the




                                        15
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20    Page 17 of 38 Page ID #:17



Subject Device.      SMITH said he had deleted them, but would not

say when or why he had deleted them.
             When asked whether he and the victim had engaged in

sexual encounters, SMITH became evasive and uncomfortable, and

refused to answer the question.

             Shortly before SMITH’s voluntary interview ended,

agents seized the Subject Device because it contained

photographic evidence of Minor Victim, who was then still

missing.

      D.     After being rescued, Minor Victim reveals SMITH
              threated to “shoot up” her house if she did not come
              to Los Angeles with him; while together, SMITH
              threatened to kill her and her family, beat her, and
              had sex with her multiple times
             Approximately four hours after agents knocked on

SMITH’s door, they found Minor Victim.           Minor Victim had hidden

in the apartment complex’s parking structure during the initial

sweep and thereafter hid on the building’s roof, where she

remained until being located.

             Investigators briefly spoke with her, but she was

dirty and wearing no shoes, so shortly thereafter LAPD

transported her to the Rampart Community Police Station to

provide her with some care.       Minor Victim was provided with care

and asked to call her family.

             After Minor Victim was cared for, my partner and I

began to interview her.       She was hesitant to answer our

questions.     She would not refer to SMITH by name and denied

being a relationship with him; she appeared uncomfortable and

upset when we questioned her about SMITH.              When asked about



                                      16
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 18 of 38 Page ID #:18



bruising on her neck, she said the marks came from an

acquaintance of SMITH’s, not SMITH.1          About twenty minutes into

the interview, Minor Victim called her parents.             After the call,

Minor Victim’s attitude significantly changed, and she explained

the following:

            a.     Minor Victim said she was initially afraid to

talk to investigators because she feared for her family’s

safety.    Following the call to her parents, during which Minor

Victim learned her parents were not in danger, Minor Victim

expressed a willingness to answer any of the Agent’s questions.

            b.     She came to Los Angeles about four days ago.2

Since then, she had been staying at the Subject Premises, which

SMITH’S wife, Adult Female, owns.

            c.     When the FBI first knocked, Minor Victim was in

the shower.       Adult Female told Minor Victim to hide because the

FBI was at the door.       Minor Victim then left the apartment

through another door.

            d.     Minor Victim has been chatting with SMITH for a
“long amount of time” over Snapchat, Instagram, and Facetime.

            e.     Even before chatting, SMITH knew Minor Victim was

fifteen.    Before SMITH and Minor Victim started chatting, Minor



     1 On July 11, 2020, a minor male (“Minor Male”) saw law
enforcement searching for Minor Victim at SMITH’s apartment
complex. Minor Female initially gave Minor Male’s name to my
partner and me as the individual who had given her the marks on
her neck. When Minor Male was questioned at the scene about
Minor Female, he said he knew her, but they had very little
contact because SMITH was controlling of Minor Female.
      2The pings indicate Minor Victim and SMITH arrived in the
Los Angeles area on July 7th.


                                      17
Case 2:20-cr-00320-JAK    Document 1   Filed 07/13/20   Page 19 of 38 Page ID #:19



Victim was dating an online acquaintance of SMITH’s who told

SMITH she was fifteen.        Minor Victim also told SMITH herself she

was fifteen.      Initially, Minor Victim thought SMITH was younger,

based on his online behavior, but then she realized he was older

as his behavior changed.

            f.    Before they met in person, Minor Victim sent

SMITH explicit images and videos of herself at his insistence;

she engaged in explicit live video chats over FaceTime.                In the

beginning, Minor Victim sent images of just her cleavage, but

eventually sent images of herself completely nude.               If Minor

Victim refused to “do stuff” on their Facetime calls, SMITH

would get mad.     During these Facetime video calls, SMITH was

“very bossy” in telling Minor Victim what to do.               SMITH became

increasingly verbally threatening over time.              Before meeting in

person, Minor Victim attempted to break up with SMITH multiple

times.

            g.    Minor Victim said SMITH came to Oregon to get her

so she could run away with him and they could start a life

together in Los Angeles.        She said she and SMITH are in a

relationship, she has strong feelings for him, and thinks she is

in love with him.        She explained that when SMITH is being

“normal” and not angry, he treats her “gentle and sweet,”

calling her “baby” and “princess;” she also said he takes Xanax.

            h.    On the morning of July 7, 2020, SMITH arrived

with two unidentified males to pick up Minor Victim.               SMITH

drove there from Los Angeles to pick her up and then drive her

back to Los Angeles.        Minor Victim had previously expressed



                                       18
Case 2:20-cr-00320-JAK    Document 1   Filed 07/13/20   Page 20 of 38 Page ID #:20



hesitancy about leaving, but SMITH threatened her and her family

if she refused to comply.        Specifically, SMITH threatened to

“shoot up her house” if she did not go with him.               Minor Victim

stated that if SMITH had not threatened her or her family, she

would not have left with him and driven to Los Angeles.                SMITH

threatened to “beat up” Minor Victim and to put a “bullet” in

her brain if she did not do what he told her to do.

            i.   SMITH threatened Minor Victim “a lot.”             At some

point, SMITH said he was going to get a motel room to have sex

with Minor Victim for the first time; later, when he was angry

with her, he said she would not make it out alive.               SMITH never

got a motel room.        He also threatened to kill or stab her when

he became angry.

            j.   On the drive to Los Angeles, SMITH took Minor

Victim’s phone and factory reset it, which functionally erases

all data off a device.        After resetting it, he threw it out the

window.

            k.   Soon after Minor Victim and SMITH got to Los

Angeles, Minor Victim said they had sex for the first time.

This was Minor Victim’s first time having sex.              Although Minor

Victim said the sex was “consensual,” she also said SMITH hit

her while they were having sex; she said hitting her during sex

is one of SMITH’S “kinks.”3        Minor Victim later accidentally

stepped on SMITH’S shoes.        SMITH grabbed her by the throat,

pulled her into the bedroom, and slammed her against the wall.


      3As described further below, Minor Victim also said SMITH
“forced” his penis down her throat.


                                       19
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 21 of 38 Page ID #:21



The last time that Minor Victim and SMITH had sex was the night

of July 10th.       Minor Victim also reported that SMITH told her

that they had engaged in some intimate behavior on the drive to

Los Angeles, but she did not remember it; later, as described

further below, Minor Victim also reported that SMITH told her he

had anally penetrated her on the drive down at a rest stop, but,

again, she did not remember this incident.

              l.   While in Los Angeles, Minor Victim tried to call

home, but SMITH told her she could not talk to her family until

she was at least 18 years-old.        Minor Victim attempted on three

different occasions to leave the Subject Premises by herself,

but SMITH would not allow her to leave.           When SMITH discovered

Minor Victim had a second cellphone, he took it and threw it in

the trash.

              m.   SMITH told Minor Victim since her disappearance

her mother had sent him text messages and requested to follow

SMITH on Instagram.4      Minor Victim asked to see the messages, but

SMITH refused.

      E.     A forensic examination reveals SMITH beat, burned, and
              repeatedly penetrated Minor Victim
             Following Minor Victim’s interview, Minor Victim was

transported to LAC & USC Medical Center to undergo a forensic

physical examination called a Minor Victim Acute (<72 Hours)

Forensic Medical Report, Adolescent Sexual Assault Examination.

As a part of this examination, medical personnel took swabs from

      4Minor Victim’s mother attempted to conduct a number of
investigatory steps on her own in an effort to locate her
daughter, including sending these communications to SMITH
without the involvement of law enforcement.


                                      20
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 22 of 38 Page ID #:22



Minor Victim’s body; those swabs are now in FBI custody, but

have not been sent off for analysis.          A report from the exam

indicated the following about SMITH and Minor Victim’s physical

encounters:

             a.   Assault History
                   i.   “He hit me on the face and ribs.”

                   ii. “He held me down, pinning my wrists and

grabbing my legs.”

                   iii. “He put his hands around my neck.”

                   iv. “We were just sitting on the bed and he

burned me with a lighter.”

                   v.   My throat hurts because of the pressure he

put on it.

                   vi. “Sore from him forcing himself down my

throat.”

                   vii. “He said he would kill my family if I didn’t

go with him.”

                   viii.     “He said he was going to kill me.”

                   ix. He “shotgun[ed] me with weed.”5

                   x.   I vomited because he got me “really high.”

             b.   Sex Acts Described by Patient.

                   i.   Penial and digital penetration of vagina.

                   ii. “He said he put his penis in my butt when we

were at the rest stop.”




      5“Shotgunning” refers to when one person forces marijuana
smoke into another person’s mouth.


                                      21
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20    Page 23 of 38 Page ID #:23



                  iii. Non-genital licking, kissing, suction, and

biting.

                  iv. Ejaculation on mouth, vagina, body, and

clothing.

                  iv. Condoms were not used.           Lubricant was used

three to five times.




                                      22
Case 2:20-cr-00320-JAK      Document 1   Filed 07/13/20   Page 24 of 38 Page ID #:24



                c.   Physical Examination
                      i.   Faded suction injuries were observed around

the neck and chest area.

                      ii. A red scab by back of left hip, consistent

with a cigarette lighter burn.

                      iii. Faded green bruises below shoulders and

upper back.

                      iv. A Wood Lamp6 discoloration on right buttock.

                      v.   Pinkish marks indicative of suction injuries

on left side of neck and suction injuries on right side of neck.

                      vi. Redness at back of throat, possibly from

oral copulation.

                      vii. Cervix reddish “all around the clock,”7 but

no evidence of injury.

        F.     SMITH is arrested
               On July 11, 2020, the FBI arrested SMITH for the

above-described conduct.          SMITH was detained at the Monterey

Park Police Department.          While there, he vomited and complained

of chest pains.         He was taken to Garfield Medical Center for

evaluation and medically discharged; he returned to Monterey

Park and is still there.




        6   A “Wood Lamp” test uses UV light to look closely at the
skin.
        7
       “All around the clock” is medical shorthand for 360
degrees, or all the way around an orifice.


                                         23
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 25 of 38 Page ID #:25



   VII. TRAINING AND EXPERIENCE ON INDIVIDUALS WHO HAVE A SEXUAL
                           INTEREST IN CHILDREN
           Based on my training and experience, and the training

and experience of other law enforcement officers with whom I

have had discussions, I have learned that there are certain

characteristics common to individuals with a sexual interest in

children and images of children:

            a.   Individuals who have a sexual interest in

children or images of children may receive sexual gratification,

stimulation, and satisfaction from contact with children; or

from fantasies they may have viewing children engaged in sexual

activity or in sexually suggestive poses, in person, in

photographs, or in other visual media; or from literature

describing such activity.

            b.   Individuals who have a sexual interest in

children or images of children may collect sexually explicit or

suggestive materials in a variety of media, including

photographs, magazines, motion pictures, videotapes, books,

slides, and/or drawings or other visual media.             Individuals who

have a sexual interest in children or images of children

oftentimes use these materials for their own sexual arousal and

gratification.     Further, they may use these materials to lower

the inhibitions of children they are attempting to seduce, to

arouse the selected child partner, or to demonstrate the desired

sexual acts.

            c.   Individuals who have a sexual interest in

children or images of children sometimes possess hard copies of




                                      24
Case 2:20-cr-00320-JAK     Document 1   Filed 07/13/20   Page 26 of 38 Page ID #:26



child pornography, such as pictures, films, video tapes,

magazines, negatives, photographs, etcetera.               As digital

technology has developed, individuals with a sexual interest in

children or images of children have become much more likely to

maintain child pornography in digital or electronic format,

stored either on digital devices or in remote storage locations

on the Internet.         Regardless of whether these individuals

collect their child pornography in hard copy or digital format,

they may maintain their child pornography for a long period of

time, even years.        They usually maintain these collections in a

safe, secure, and private environment, such as their homes,

vehicles, or nearby, so they can view the child pornography at

their leisure.     These collections are typically highly valued.

            d.   Individuals who have a sexual interest in

children or images of children also may correspond with and/or

meet others to share information and materials; rarely destroy

correspondence from other child pornography distributors and

collectors; may conceal such correspondence as they do their

sexually explicit material; and often maintain lists of names,

addresses, and telephone numbers of individuals with whom they

have been in contact and who share the same interests in child

pornography.

            e.   Individuals who have a sexual interest in

children or images of children prefer not to be without their

child pornography for any prolonged time period.                This behavior

has been documented by law enforcement officers involved in the

investigation of child pornography throughout the world.



                                        25
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 27 of 38 Page ID #:27



            f.    Based on my training and experience, as well as

my conversations with digital forensics agents, I know that

computer files or remnants of such files can be recovered months

or even years after they have been downloaded onto a hard drive,

deleted, or viewed via computer.           Electronic files downloaded to

a hard drive can be stored for years at little to no cost.                Even

when such files have been deleted, they may be recoverable

months or years later using readily available forensic tools.

When a person “deletes” a file on a home computer, the data

contained in the file does not actually disappear; rather, that

data remains on the hard drive until it is overwritten by new

data.    Therefore, deleted files, or remnants of deleted files,

may reside in free space or slack space -- that is, in space on

the hard drive that is not allocated to an active file or that

is unused after a file has been allocated to a set block of

storage space for long periods of time before they are

overwritten.     In addition, a computer’s operating system may

also keep a record of deleted data in a “swap” or “recovery”

file.    Similarly, files that have been viewed via the Internet

are automatically downloaded into a temporary Internet directory

or cache.    The browser typically maintains a fixed amount of

hard drive space devoted to these files, and the files are only

overwritten as they are replaced with more recently viewed

Internet pages.      Thus, the ability to retrieve residue of an

electronic file from a hard drive depends less on when the file

was downloaded or viewed than on a particular user’s operating

system, storage capacity, and computer habits.             Because computer



                                      26
Case 2:20-cr-00320-JAK    Document 1   Filed 07/13/20   Page 28 of 38 Page ID #:28



evidence is recoverable after long periods of time, there is

probable cause to believe that evidence of the SUBJECT OFFENSES

will be found on the SUBJECT DEVICES.

        VIII.      TRAINING AND EXPERIENCE ON DIGITAL DEVICES

           As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.        Based on my knowledge, training, and

experience, as well as information related to me by agents and

others involved in the forensic examination of digital devices,

I know that data in digital form can be stored on a variety of

digital devices and that during the search of a premises it is

not always possible to search digital devices for digital data

for a number of reasons, including the following:

            a.   Searching digital devices can be a highly

technical process that requires specific expertise and


                                       27
Case 2:20-cr-00320-JAK     Document 1    Filed 07/13/20   Page 29 of 38 Page ID #:29



specialized equipment.         There are so many types of digital

devices and software programs in use today that it is impossible

to bring to the search site all of the necessary technical

manuals and specialized equipment necessary to conduct a

thorough search.         In addition, it may be necessary to consult

with specially trained personnel who have specific expertise in

the types of digital devices, operating systems, or software

applications that are being searched.

            b.     Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.

Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the

integrity of digital data and to recover “hidden,” erased,

compressed, encrypted, or password-protected data.                 As a result,

a controlled environment, such as a law enforcement laboratory

or similar facility, is essential to conducting a complete and

accurate analysis of data stored on digital devices.

            c.     The volume of data stored on many digital devices

will typically be so large that it will be highly impractical to

search for data at one time.            A single megabyte of storage space

is the equivalent of 500 double-spaced pages of text.                  A single

gigabyte of storage space, or 1,000 megabytes, is the equivalent

of 500,000 double-spaced pages of text.

 d.    Electronic files or remnants of such files can be recovered

                 months or even years after they have been downloaded




                                         28
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 30 of 38 Page ID #:30



onto a hard drive, deleted, or viewed via the Internet.8
Electronic files saved to a hard drive can be stored for years

with little or no cost.       Even when such files have been deleted,

they can be recovered months or years later using readily-

available forensics tools.       Normally, when a person deletes a

file on a computer, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.          Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space, i.e., space on a hard drive that is not allocated to an

active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

they are overwritten.       In addition, a computer’s operating

system may also keep a record of deleted data in a swap or

recovery file.     Similarly, files that have been viewed on the

Internet are often automatically downloaded into a temporary

directory or cache.       The browser typically maintains a fixed

amount of hard drive space devoted to these files, and the files

are only overwritten as they are replaced with more recently

downloaded or viewed content.         Thus, the ability to retrieve

residue of an electronic file from a hard drive depends less on

when the file was downloaded or viewed than on a particular

user’s operating system, storage capacity, and computer habits.

Recovery of residue of electronic files from a hard drive


      8These statements do not generally apply to data stored in
volatile memory such as random-access memory, or “RAM,” which
data is, generally speaking, deleted once a device is turned
off.


                                      29
Case 2:20-cr-00320-JAK     Document 1   Filed 07/13/20   Page 31 of 38 Page ID #:31



requires specialized tools and a controlled laboratory

environment.      Recovery also can require substantial time.

            e.     Although some of the records called for by this

warrant might be found in the form of user-generated documents

(such as word processing, picture, and movie files), digital

devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents,

programs, applications and materials contained on the digital

devices are, as described further in the attachments, called for

by this warrant.         Those records will not always be found in

digital data that is neatly segregable from the hard drive image

as a whole.       Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has

been deleted from a word processing file).               Virtual memory

paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently

used.    Web browsers, e-mail programs, and chat programs often

store configuration data on the hard drive that can reveal

information such as online nicknames and passwords.                Operating

systems can record additional data, such as the attachment of

peripherals, the attachment of USB flash storage devices, and

the times the computer was in use.            Computer file systems can

record data about the dates files were created and the sequence



                                        30
Case 2:20-cr-00320-JAK   Document 1     Filed 07/13/20   Page 32 of 38 Page ID #:32



in which they were created.           This data can be evidence of a

crime, indicate the identity of the user of the digital device,

or point toward the existence of evidence in other locations.

Recovery of this data requires specialized tools and a

controlled laboratory environment, and also can require

substantial time.

            f.   Further, evidence of how a digital device has

been used, what it has been used for, and who has used it, may

be the absence of particular data on a digital device.                 For

example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on

the digital device.       Evidence of the absence of particular data

on a digital device is not segregable from the digital device.

Analysis of the digital device as a whole to demonstrate the

absence of particular data requires specialized tools and a

controlled laboratory environment, and can require substantial

time.

            g.   Digital device users can attempt to conceal data

within digital devices through a number of methods, including

the use of innocuous or misleading filenames and extensions.

For example, files with the extension “.jpg” often are image

files; however, a user can easily change the extension to “.txt”

to conceal the image and make it appear that the file contains

text.    Digital device users can also attempt to conceal data by



                                        31
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 33 of 38 Page ID #:33



using encryption, which means that a password or device, such as

a “dongle” or “keycard,” is necessary to decrypt the data into

readable form.     In addition, digital device users can conceal

data within another seemingly unrelated and innocuous file in a

process called “steganography.”         For example, by using

steganography a digital device user can conceal text in an image

file that cannot be viewed when the image file is opened.

Digital devices may also contain “booby traps” that destroy or

alter data if certain procedures are not scrupulously followed.

A substantial amount of time is necessary to extract and sort

through data that is concealed, encrypted, or subject to booby

traps, to determine whether it is evidence, contraband or

instrumentalities of a crime.         In addition, decryption of

devices and data stored thereon is a constantly evolving field,

and law enforcement agencies continuously develop or acquire new

methods of decryption, even for devices or data that cannot

currently be decrypted.
            I know from my training and experience and my review

of publicly available materials that several hardware and

software manufacturers offer their users the ability to unlock

their devices through biometric features in lieu of a numeric or

alphanumeric passcode or password.          These biometric features

include fingerprint-recognition, face-recognition, iris-

recognition, and retina-recognition.          Some devices offer a

combination of these biometric features and enable the users of

such devices to select which features they would like to

utilize.



                                      32
Case 2:20-cr-00320-JAK     Document 1   Filed 07/13/20   Page 34 of 38 Page ID #:34



           If a device is equipped with a fingerprint scanner, a

user may enable the ability to unlock the device through his or

her fingerprints.         For example, Apple Inc. (“Apple”) offers a

feature on some of its phones and laptops called “Touch ID,”

which allows a user to register up to five fingerprints that can

unlock a device.         Once a fingerprint is registered, a user can

unlock the device by pressing the relevant finger to the

device’s Touch ID sensor, which on a cell phone is found in the

round button (often referred to as the “home” button) located at

the bottom center of the front of the phone, and on a laptop is

located on the right side of the “Touch Bar” located directly

above the keyboard.         Fingerprint-recognition features are

increasingly common on modern digital devices.               For example, for

Apple products, all iPhone 5S to iPhone 8 models, as well as

iPads (5th generation or later), iPad Pro, iPad Air 2, and iPad

mini 3 or later, and MacBook Pro laptops with the Touch Bar are

all equipped with Touch ID.         Motorola, HTC, LG, and Samsung,

among other companies, also produce phones with fingerprint

sensors to enable biometric unlock by fingerprint.                The

fingerprint sensors for these companies have different names but

operate similarly to Touch ID.

           If a device is equipped with a facial-recognition

feature, a user may enable the ability to unlock the device

through his or her face.         To activate the facial-recognition

feature, a user must hold the device in front of his or her

face.    The device’s camera analyzes and records data based on

the user’s facial characteristics.            The device is then



                                        33
Case 2:20-cr-00320-JAK   Document 1     Filed 07/13/20   Page 35 of 38 Page ID #:35



automatically unlocked if the camera detects a face with

characteristics that match those of the registered face.                 No

physical contact by the user with the digital device is

necessary for the unlock, but eye contact with the camera is

often essential to the proper functioning of these facial-

recognition features; thus, a user must have his or her eyes

open during the biometric scan (unless the user previously

disabled this requirement).           Several companies produce digital

devices equipped with a facial-recognition-unlock feature, and

all work in a similar manner with different degrees of

sophistication, e.g., Samsung’s Galaxy S8 (released Spring
2017) and Note8 (released Fall 2017), Apple’s iPhone X (released

Fall 2017).     Apple calls its facial-recognition unlock feature

“Face ID.”     The scan and unlock process for Face ID is almost

instantaneous, occurring in approximately one second.

           While not as prolific on digital devices as

fingerprint- and facial-recognition features, both iris- and

retina-scanning features exist for securing devices/data.                    The

human iris, like a fingerprint, contains complex patterns that

are unique and stable.       Iris-recognition technology uses

mathematical pattern-recognition techniques to map the iris

using infrared light.       Similarly, retina scanning casts infrared

light into a person’s eye to map the unique variations of a

person’s retinal blood vessels.           A user can register one or both

eyes to be used to unlock a device with these features.                 To

activate the feature, the user holds the device in front of his

or her face while the device directs an infrared light toward



                                        34
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20    Page 36 of 38 Page ID #:36



the user’s face and activates an infrared-sensitive camera to

record data from the person’s eyes.          The device is then unlocked

if the camera detects the registered eye.              Both the Samsung

Galaxy S8 and Note 8 (discussed above) have iris-recognition

features.    In addition, Microsoft has a product called “Windows

Hello” that provides users with a suite of biometric features

including fingerprint-, facial-, and iris-unlock features.

Windows Hello has both a software and hardware component, and

multiple companies manufacture compatible hardware, e.g.,
attachable infrared cameras or fingerprint sensors, to enable

the Windows Hello features on older devices.

           In my training and experience, users of electronic

devices often enable the aforementioned biometric features

because they are considered to be a more convenient way to

unlock a device than entering a numeric or alphanumeric passcode

or password.     Moreover, in some instances, biometric features

are considered to be a more secure way to protect a device’s

contents.

           I also know from my training and experience, as well

as from information found in publicly available materials

including those published by device manufacturers, that

biometric features will not unlock a device in some

circumstances even if such features have been enabled.                This can

occur when a device has been restarted or inactive, or has not

been unlocked for a certain period of time.              For example, with

Apple’s biometric unlock features, these circumstances include

when: (1) more than 48 hours has passed since the last time the



                                      35
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 37 of 38 Page ID #:37



device was unlocked; (2) the device has not been unlocked via

Touch ID or Face ID in eight hours and the passcode or password

has not been entered in the last six days; (3) the device has

been turned off or restarted; (4) the device has received a

remote lock command; (5) five unsuccessful attempts to unlock

the device via Touch ID or Face ID are made; or (6) the user has

activated “SOS” mode by rapidly clicking the right side button

five times or pressing and holding both the side button and

either volume button.       Biometric features from other brands

carry similar restrictions.       Thus, in the event law enforcement

personnel encounter a locked device equipped with biometric

features, the opportunity to unlock the device through a

biometric feature may exist for only a short time.               I do not

know the passcodes of the devices likely to be found during the

search.
            For these reasons, the warrant I am applying for would

permit law enforcement personnel to: (1) compel the use of

TRAVIS SMITH’s thumb- and/or fingerprints on the device(s); and

(2) hold the device(s) in front of SMITH’s face with his eyes

open to activate the facial-, iris-, and/or retina-recognition

feature.    With respect to fingerprint sensor-enabled devices,

although I do not know which of the fingers are authorized to

access any given device, I know based on my training and

experience that it is common for people to use one of their

thumbs or index fingers for fingerprint sensors; and, in any

event, all that would result from successive failed attempts is

the requirement to use the authorized passcode or password.



                                      36
Case 2:20-cr-00320-JAK   Document 1   Filed 07/13/20   Page 38 of 38 Page ID #:38



           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this
data by other means.

                               I. CONCLUSION
            For all of the reasons described above, there is

probable cause to believe that Travis SMITH has committed the
SUBJECT OFFENSES. There is also probable cause that the items to
be seized described in Attachment B will be found in a search of
the SUBJECT DEVICE described in Attachment A.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 13th day of
July, 2020.


UNITED STATES MAGISTRATE JUDGE
 JEAN P. ROSENBLUTH




                                      37
